      Case 4:17-cv-01646 Document 1-2 Filed in TXSD on 06/01/17 Page 1 of 11 3/2/2017 10:40:20 AM
                                                                               Chris Daniel - District Clerk Harris County
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                          2017-14472 / Court: 157                                                        By: Nelson Cuero
                                                                                            Filed: 3/2/2017 10:40:20 AM


                                  CAUSE NO.

STANFORD STREET HOLDINGS,LLC )(                            IN THE DISTRICT COURT OF


vs.                                         )(             HARRIS COUNTY,TEXAS

WESTERN HERITAGE INSURANCE                  )(
COMPANY AND TIM MERCER                      )(                     JUDICIAL DISTRICT

                       PLAINTIFF'S ORIGINAL PETITION AND
                            REQUEST FOR DISCLOSURE

  ~         ~ ~~*:            r      ~   ~ ~         ~
       COMES NOW, Plaintiff, STANFORD STREET HOLDINGS, LLC, (hereinafter

sometimes referred to as "Plaintiff'), who files this original petition against defendants,

WESTERN HERITAGE MUTUAL INSURANCE COMPANY (hereinafter sometimes referred

to as "Western"), and TIM MERCER (hereinafter sometime referred to as "Mercer"), and for

cause of action would show the following:

                            A. DISCOVERY CONTROL PLAN

       1.     Plaintiffs intend for discovery to be conducted under Level 3 of Rule 190.4 of the

Texas Rules of Civil Procedure.

       2.     Plaintiff seeks only monetary relief in excess of $100,000.

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       3.     STANFORD STREET HOLDINGS, LLC, Plaintiff, is a Texas Limited Liability

Company whose principal place of business is in Houston, Harris County, Texas.

       4.     WESTERN HERITAGE INSURANCE COMPANY is a foreign insurance

company licensed to do business in the State of Texas, with its principal place of business in

Arizona. Service may be had on WESTERN HERITAGE INSURANCE COMPANY by serving




                                                 1

                                            EXHIBIT 2
      Case 4:17-cv-01646 Document 1-2 Filed in TXSD on 06/01/17 Page 2 of 11




the Commissioner of the Department of Insurance, via Certified Mail, Return Receipt Requested,

at P.O. Box 149104, Austin, TX 78714-9104.

       5.      TIM MERCER is an adjuster retained by WESTERN to adjust the claim at issue

in this case and is a resident of the State of Texas and may be served with process by personally

serving him at his place of employment(or wherever he may be found): Cunningham &Lindsey,

4201 Cypresscreek Parkway, Suite 255, Houston, Texas 77068.

                                       C. JURISDICTION

       6.      This court has jurisdiction over the cause of action because the amount in

controversy is within the jurisdictional limits ofthe court.

       7.      The court has jurisdiction over the Defendant, WESTERN HERITAGE

INSURANCE COMPANY because Defendant is licensed to do insurance business in the state of

Texas; engages in the business of insurance in Texas; and the cause of action arises out of its

business activities in Texas.

       8.      The court has jurisdiction over the Defendant, TIM MERCER because he is the

claims adjuster assigned by WESTERN to adjust the claim at issue and engages in the business

of insurance in Texas; and the cause of action arises out of its business activities in Texas.



       7.      Venue is proper in Harris County, Texas because:

               a.      The property which was insured by WESTERN, and which sustained
                       damages as a result of the covered cause ofloss made the basis of this suit,
                       is located in Harris County, Texas;

               b.      The damage to Plaintiff for which claim was made to WESTERN for
                       insurance proceeds was incurred in Harris County, Texas as a result of a
                       covered cause ofloss, which occurred in Harris County, Texas;




                                                 2
      Case 4:17-cv-01646 Document 1-2 Filed in TXSD on 06/01/17 Page 3 of 11




              c.      Plaintiff makes claims of unfair claims handling practices and the claim
                      made the basis of the suit was adjusted by WESTERN and MERCER,
                      who conducted claims-handling activities in Harris County, Texas;

               d.     This case involves a breach of contract and deceptive trade practices
                      where the breach and deceptive acts occurred in Harris County, Texas;

                                          E. FACTS

       8.     Plaintiff is the owner of a Texas commercial insurance policy issued by

Defendant with Policy No. SCP1512534-01 (hereinafter sometimes referred to as "Policy") for

the policy period of 06/18/2015 through 06/18/2016. Plaintiff owns the insured property located

within a leased premises located at 611 Hyde Park Blvd., Houston, Texas 77006, (hereinafter

sometimes referred to as "Building")

       9.      WESTERN sold the Policy insuring the Building for damages resulting from the

covered cause of loss made the basis of this suit, (namely fire) including, without limitation,

physical damage to property, damage to business personal property, and debris removal, all of

which are more particularly described in the Policy. Plaintiff paid all premiums when due and

was issued the Policy, which was in full force and effect at the time that the damages were

sustained as a result of a covered cause of loss, which occurred on or about 01/02/2016,

(hereinafter sometimes referred to as "Covered Event")

       10.    As a result of the Covered Event, which occurred on 01/02/2016, Plaintiff

suffered losses covered under the Policy. The Building sustained severe damages, which

required temporary and permanent repairs and replacement of business personal property and

inventory. Plaintiff continues to suffer damages which are covered under the Policy.

       11.    Plaintiff promptly put WESTERN on notice ofthe claim.




                                               3
      Case 4:17-cv-01646 Document 1-2 Filed in TXSD on 06/01/17 Page 4 of 11




        12.     Plaintiff retained AAPA, LLC to assist with the claim. AAPA, LLC estimated

damages at a minimum of $366,909.51. WESTERN advanced $200,000 and had not paid any

more money on the claim.

        13.     WESTERN has grossly underpaid the damages suffered by Plaintiff in breach of

the insurance policy.

        14.     Since WESTERN has partially or completely denied the claim, it is obvious that

Defendant had all the information in its possession that it reasonably required to accept or reject

the claim.

        15.     WESTERN and MERCER knew that Plaintiff did not have business interruption

insurance. For that reason it was crucial to Plaintiff to get the claim paid as quickly as possible

so as to get the business back up and running as quickly as possible to avoid losing the business

completely. AAPA worked diligently to quickly and professionally provide WESTERN and

MERCER all documentation and proof of the damages incurred to the business personal property

and inventory of Plaintiff. Knowing that Plaintiff did not have business interruption insurance

WESTERN and MERCER "slowed played" Plaintiff through the entire claims handling process.

WESTERN and MERCER would make requests for documents or things and wait until the

twenty ninth day and then ask for more documents and things. This despite AAPA informing

WESTERN and MERCER that AAPA could provide any and all documentation reasonable

required on an expedited basis. The acts of WESTERN and MERCER were intentional and done

with the intent to hurt Plaintiff.

        16.     The fact that WESTERN and MERCER acted with intent is proved by the fact

that after paying the $200,000 advance, and being in possession of proof of at least $366,909.51

in covered damages, WESTERN and MERCER refused to provide Plaintiff with a written



                                                0
      Case 4:17-cv-01646 Document 1-2 Filed in TXSD on 06/01/17 Page 5 of 11




estimate or anything else in writing showing what WESTERN and MERCER believed the

damages were or why WESTERN and MERCER believed the damages were not as Plaintiff had

claimed. All that WESTERN and MERCER would say is that the $200,000 was more than the

claim was worth and WESTERN was not going to pay any more money. The failure by

WESTERN and MERCER to provide a written estimate or a written explanation of what the

$200,000 was for or why the claim was not worth more than $200,000 is a per se violation of

Sections 541 and 542 of the Texas Insurance Code.

       17.    WESTERN and MERCER are both "in the business of insurance" as that term is

defined in the Texas Insurance Code, and as such, both WESTERN and MERCER are liable for

unfair claims handling practices as set out in sections 541 and 542 of the Texas Insurance Code.

                              F. CAUSES OF ACTION
                                     COUNTI
                         BREACH OF CONTRACT BY WESTERN

       18.    Paragraphs 1 through 17 are incorporated by reference.

       19.    The conduct of WESTERN, as described above, constitutes a breach of the

insurance contract made between WESTERN and Plaintiff.

       20.    WESTERN'S failure and refusal, as described above, to pay the adequate

compensation as it is obligated to do under the terms of the Policy and under the laws of the

State of Texas, constitutes material breaches of the insurance contract with Plaintiff.

WESTERN's breach of the contract proximately caused Plaintiff to suffer damages in the form

of actual damages, consequential damages, along with reasonable and necessary attorney's fees.

Plaintiff has complied with all obligations and conditions required of it under the insurance

contract.




                                               5
      Case 4:17-cv-01646 Document 1-2 Filed in TXSD on 06/01/17 Page 6 of 11




                                   COUNT II
                    VIOLATIONS OF THE TEXAS INSURANCE CODE
                            BY WESTERN and MERCER

       21.     Paragraphs 1 through 20 are incorporated by reference.

       22.     The conduct of WESTERN and MERCER, as described herein, constitutes

multiple violations of the Texas Unfair Compensation and Unfair PNactices Act. TEX. INS.

CODE Chapter 541. All violations under this article are made actionable by TEX. INS. CODE

Section 541.151.

       23.     Defendant's unfair practice, described above, of misrepresenting to Plaintiff

material facts relating to the coverage at issue, constitutes an unfair method of competition and

an unfair and deceptive act or practice in the business of insurance. TEX. INS. CODE Sections

541.051, 541.060 and 541.061.

       24.     Defendant's unfair settlement practice, as described above, of failing to attempt in

good faith to effectuate a prompt, fair and equitable settlement of the claims even though its

liability under the Policy was reasonably clear, constitutes an unfair method of competition and

an unfair and deceptive act or practice in the business of insurance. TEX. INS. CODE Sections

541.051, 541.060 and 541.061.

       25.     Defendant's unfair settlement practice, as described above, of failing to promptly

provide Plaintiff with a reasonable explanation of the basis in the Policy, in relation to the facts

or applicable law, for its offer of a compromise settlement of the claims, constitutes an unfair

method of competition and an unfair and deceptive act or practice in the business of insurance.

TEX. INS. CODE Sections 541.051, 541.060 and 541.061.

       26.     Defendant's unfair settlement practice, described above, refusing to pay

Plaintiff's claims while failing to conduct a reasonable investigation, constitutes an unfair
      Case 4:17-cv-01646 Document 1-2 Filed in TXSD on 06/01/17 Page 7 of 11




method of competition, and unfair and deceptive act or practice in the business of insurance.

TEX. INS. CODE Sections 541.001, et seq., including, without limitation, 541.051, 541.060 and

541.061.

                                  COUNT III
              THE FAILURE OF WESTERN and MERCER TO COMPLY WITH
                    TEXAS INSURANCE CODE CHAPTER 542: THE
                       PROMPT PAYMENT OF CLAIMS ACT

        27.     Paragraphs 1 through 26 are incorporated by reference.

        28.     WESTERN's and MERCER's conduct constitutes multiple violations of the

?'exas Prompt Payment of Claims Act, TEX. INS. CODE Chapter 542. All violations made

under this article are made actionable by TEX. TNS. CODE Section 542.060.

        29.     WESTERN'S and           MERCER's failure, described above, to commence

investigation of the claims and request from Plaintiff all items, statements and forms that it

reasonably believed would be required within the applicable time constraints, constitutes a non-

payment of the claims. TEX. INS. CODE Section 542.055-542.060.

        30.     WESTERN's and MERCER's refusal to pay Plaintiff's entire claim or delay of

payment of Plaintiff's claim, described above, following its receipt of all items, statements and

forms reasonably requested and required longer than the amount of time prescribed for,

constitutes anon-prompt payment of the claims. TEX. INS. CODE Sections 542.055-542.060.

                                          COUNT IV
               BREACH OF DUTY OF GOOD FAITH AND FAIR DEALINGS
                                        BY WESTERN
        31.     Paragraphs 1 through 30 are incorporated by reference.

        32.     WESTERN,as an insurer, is subject to the laws of the State of Texas and owed to

Plaintiff the duty to deal with it fairly and in good faith.




                                                   7
      Case 4:17-cv-01646 Document 1-2 Filed in TXSD on 06/01/17 Page 8 of 11




        33.     WESTERN refused to pay a substantial portion of the property damage claim

despite the fact that its liability was clear.

        34.     No reasonable insurer would have failed to fully pay this claim with the

information available to WESTERN at the time that it decided not to pay the full value of this

claim. The conduct of WESTERN constitutes a breach of the common law duty of good faith

and fair dealing owed to insureds under insurance contracts. As described above, WESTERN

failed to adequately and reasonably investigate and evaluate Plaintiff's claim, while WESTERN

knew or should have known by the exercise of reasonable diligence that its liability is reasonably

clear, all of which constitutes a breach of the duty of good faith and fair dealing.

        35.     The refusal to fully adjust and pay this claim in violation of the duties of good

faith and fair dealing, proximately caused Plaintiff to suffer independent damages including

economic damage and emotional distress caused by the denial. WESTERN is liable to Plaintiff

for extra contractual damages for Plaintiff's separate injury and independent damages in a sum in

excess ofthe minimum jurisdictional limits ofthe court.

                                 G. KNOWLEDGE AND INTENT

       36.      Paragraphs 1 through 35 are incorporated by reference.

       37.      Each of the acts described above, together and singularly, was done "knowingly"

and "intentionally" with conscious indifference to the harm which would result to Plaintiff and

was a producing cause of Plaintiff's damages described herein.

          H. VIOLATION OF TEXAS DECEPTIVE TRADE PRACTICES ACT

       38.      Paragraphs 1 through 37 are incorporated by reference.

       39.      Plaintiff purchased the Policy in question from the WESTERN and is a

"consumer" as that term is defined under the Texas Deceptive Trade Practices Act. Plaintiff has
      Case 4:17-cv-01646 Document 1-2 Filed in TXSD on 06/01/17 Page 9 of 11




been damaged by WESTERN's conduct, described above, which constitutes a deceptive or

unfair insurance practice as that term is defined under the Texas Insurance Code.

       40.     Each of the acts described above, together and singularly, constitute a violation of

the Texas Deceptive Trade Practices Act pursuant to its tie-in provision for Insurance Code

Violations. Accordingly, Plaintiff also brings each and every cause of action alleged above

under the Texas Deceptive Trade Practices Act pursuant to its tie-in provision.

       41.     WESTERN has violated the Texas Deceptive Trade Practices Act in the following

non-exclusive manners:

               a.      WESTERN misrepresented to the claimant-insured a material fact or
                       policy provision relating to coverage at issue;

               b.      WESTERN failed to attempt in good faith to effectuate a prompt, fair and
                       equitable settlement of the claim with respect to which the insurer's
                       liability has become reasonably clear;

               c.     WESTERN refused to pay the claim without a reasonable investigation on
                      its part with respect to the claim.

       42.     As a result of WESTERN'S violations of DTPA, Plaintiff suffered actual

damages. Because WESTERN committed the acts knowingly and intentionally, with conscious

indifference to the harm caused to the insured, Plaintiff is entitled to three times its damages for

economic relief.

                              I. REQUEST FOR DISCLOSURE

       43.     Paragraphs 1 through 42 are incorporated by reference.

       44.     Pursuant to TRCP Rule 194, PLAINTIFF requests that WESTERN and MERCER

disclose the materials described in TRCP Rule 194.2.

                                J. DAMAGES AND PRAYER

       45.     Paragraphs 1 through 44 are incorporated by reference.



                                                E
     Case 4:17-cv-01646 Document 1-2 Filed in TXSD on 06/01/17 Page 10 of 11




       46.     The conduct of WESTERN and MERCER, as described herein, was a producing

cause of Plaintiff's economic damages. As a result, Plaintiff suffered economic damage and

expenses for which WESTERN and MERCER are liable.

       44.     As a direct result of the knowing misconduct by WESTERN and MERCER,

Plaintiff suffered additional damages. Accordingly, WESTERN and MERCER are liable to

Plaintiff for economic damages and additional damages of up to three times economic as

permitted by the Texas Insurance Code and the Texas Deceptive Trade Practices Consumer

Protection Act.

       45.     WHEREFORE, PREMISES CONSIDERED, Plaintiff herein prays that

Defendants be cited to appear and answer, and that on a final trial on the merits, Plaintiff recover

from Defendants damages for all causes of action described above, extra contractual damages as

allowed by law and the causes of action described above, attorney fees, costs of court, and all

interest allowed by statute and common law and for such other further relief to which Plaintiff

may be entitled, both in equity and at law.

                                              Respectfully submitted

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                                              By:
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                                                     ATTORNEYS FOR PLAINTIFF




                                                10
Case 4:17-cv-01646 Document 1-2 Filed in TXSD on 06/01/17 Page 11 of 11




                                  JURY DEMAND

 Plaintiff respectfully demands a trial by jury.




                                        Patrick Connell McGinnis




                                          11
